                                Case 6:19-bk-06312-CCJ                   Doc 1        Filed 09/27/19           Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cold Carriers Logistics LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Watkins Logistics, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3504 Lake Lynda Drive, Suite 107
                                  Orlando, FL 32817
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                Case 6:19-bk-06312-CCJ                      Doc 1         Filed 09/27/19           Page 2 of 17
Debtor    Cold Carriers Logistics LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4841

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                               Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                               Case 6:19-bk-06312-CCJ                    Doc 1        Filed 09/27/19            Page 3 of 17
Debtor   Cold Carriers Logistics LLC                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 6:19-bk-06312-CCJ                      Doc 1        Filed 09/27/19             Page 4 of 17
Debtor    Cold Carriers Logistics LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 27, 2019
                                                  MM / DD / YYYY


                             X   /s/ Kenneth J. Meister                                                   Kenneth J. Meister
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ R.Scott Shuker, Esq                                                   Date September 27, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 R.Scott Shuker, Esq
                                 Printed name

                                 Shuker & Dorris, P.A.
                                 Firm name

                                 121 S. Orange Avenue
                                 Suite 1120
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (407) 337-2060                Email address      rshuker@shukerdorris.com

                                 984469 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                               Case 6:19-bk-06312-CCJ                 Doc 1        Filed 09/27/19          Page 5 of 17
Debtor     Cold Carriers Logistics LLC                                                      Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Gantt Holdings, LLC                                                     Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known
Debtor     Gantt Trucking, LLC                                                     Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known
Debtor     Interide Transport LC                                                   Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known
Debtor     KJM Capital Transportion Fund, LLC                                      Relationship to you               Parent
District                                              When     9/27/19             Case number, if known
Debtor     Sunco Holdings, LLC                                                     Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known
Debtor     Sunco Trucking, LLC                                                     Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known
Debtor     Watkins Refrigerated, LLC                                               Relationship to you               Affiliate
District                                              When     9/27/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
                                     Case 6:19-bk-06312-CCJ                         Doc 1        Filed 09/27/19                 Page 6 of 17


 Fill in this information to identify the case:
 Debtor name Cold Carriers Logistics LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 2RH                                                                                                                                                                      $18,448.50
 TRANSPORTATION
 LLC
 115 BIRCH CHASE
 RIVERDALE, GA
 30274
 BLUE BEACON                                                                                                                                                              $19,186.32
 INTERNATIONAL
 INC.
 P.O. BOX 856
 SALINA, KS
 67402-0856
 BRIDGESTONE                                                                                                                                                              $60,625.84
 AMERICAS TIRE
 200 4TH AVE S, STE
 100
 PO BOX 140990
 NASHVILLE, TN
 37201
 CANDELARIO                                                                                                                                                               $16,845.00
 GUZMAN
 DBA OLD PYLON
 TRUCKING
 5016 N HUISACHE
 AVE.
 PHARR, TX 78577
 COTTINGHAM &                                                                                                                                                             $53,281.00
 BUTLER, INC.
 P.O. BOX 449
 DUBUQUE, IA
 52004-0449
 CS TRUCK &                                                                                                                                                               $22,673.67
 TRAILER REPAIR
 SERVICES
 6575 MARSHALL
 BLVD. SUITE B
 LITHONIA, GA 30058


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                     Case 6:19-bk-06312-CCJ                         Doc 1        Filed 09/27/19                 Page 7 of 17


 Debtor    Cold Carriers Logistics LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DON YATES                                                                                                                                                                $21,806.00
 TRUCKING INC
 225 BARBER
 JUNCTION RD
 CLEVELAND, NC
 27013
 FLEET PRODUCTS                                                                                                                                                           $42,300.41
 6510 GOLDEN
 GROVES LANE
 TAMPA, FL 33610
 FLEETNET                                                                                                                                                                 $35,274.79
 AMERICA, INC.
 P.O. BOX 970
 CHERRYVILLE, NC
 28021
 LOVES TIRE CARE                                                                                                                                                          $46,701.94
 PO BOX 842568
 KANSAS CITY, MO
 64184-2568
 ORLANDO                                                                                                                                                                  $16,274.65
 FREIGHTLINER,
 INC.
 P.O. BOX 547185
 ORLANDO, FL
 32854-7185
 PEACH STATE                                                                                                                                                              $23,752.00
 FREIGHTLINER LLC
 P.O. BOX 808
 NORCROSS, GA
 30091
 PILOT TRAVEL                                                                                                                                                             $35,901.01
 CENTERS, LLC
 5508 LONAS RD
 KNOXVILLE, TN
 37909
 SADDLE CREEK                                                                                                                                                             $84,240.39
 TRANSPORTATION
 P.O. BOX 530625
 ATLANTA, GA
 30353-0625
 SOUTHPORT                                                                                                                                                                $22,858.56
 TRUCK GROUP
 7528 US HWY 301 N
 TAMPA, FL 33637
 SUNBELT                                                                                                                                                                  $27,747.52
 TRANSPORT
 REFRIGERATION,
 LTD.
 P.O. BOX 919016
 ORLANDO, FL
 32891-9016



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                     Case 6:19-bk-06312-CCJ                         Doc 1        Filed 09/27/19                 Page 8 of 17


 Debtor    Cold Carriers Logistics LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sunco Carriers Inc                                                                                                                                                       $40,800.00
 Attn Janice
 Seymore
 1958 Monroe Drive
 NE
 ATLANTA, GA 30324
 THE GOODYEAR                                                                                                                                                           $122,773.20
 TIRE AND RUBBER
 P O BOX 277808
 ATLANTA, GA
 30384-7808
 THERMO KING                                                                                                                                                              $39,534.22
 15816
 COLLECTIONS
 CENTER DRIVE
 CHICAGO, IL 60693
 W. W. WILLIAMS                                                                                                                                                           $24,085.98
 2849 MORELAND
 AVENUE S.E.
 ATLANTA, GA
 30315-5723




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                Case 6:19-bk-06312-CCJ                       Doc 1         Filed 09/27/19              Page 9 of 17

                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Cold Carriers Logistics LLC                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 KJM Capital Transportation                                          N/A              100%                                       Member
 Fund, LLC
 3504 Lake Lynda Dr, Ste 107
 Orlando, FL 32817


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 27, 2019                                                     Signature /s/ Kenneth J. Meister
                                                                                            Kenneth J. Meister

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                               Case 6:19-bk-06312-CCJ                      Doc 1      Filed 09/27/19   Page 10 of 17




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Cold Carriers Logistics LLC                                                                Case No.
                                                                                 Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 27, 2019                                       /s/ Kenneth J. Meister
                                                                      Kenneth J. Meister/Manager
                                                                      Signer/Title




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                  Case 6:19-bk-06312-CCJ    Doc 1    Filed 09/27/19   Page 11 of 17


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Cold Carriers Logistics LLC        BLUE BEACON INTERNATIONAL INC.        CDL LEGAL
3504 Lake Lynda Drive, Suite 107   P.O. BOX 856                          27585 W 83RD ST
Orlando, FL 32817                  SALINA, KS 67402-0856                 LENEXA, KS 66227




R.Scott Shuker, Esq                BORING BUSINESS SYSTEMS INC.          CENTRAL FLORIDA EXPRESSWAA
Shuker & Dorris, P.A.              P.O. BOX 743                          PO BOX 585070
121 S. Orange Avenue               LAKELAND, FL 33802                    ORLANDO, FL 32858-5070
Suite 1120
Orlando, FL 32801

2RH TRANSPORTATION LLC             BRIDGESTONE AMERICAS TIRE             CHECHE TRUCKING INC
115 BIRCH CHASE                    200 4TH AVE S, STE 100                1723 W MOHAWK AVE
RIVERDALE, GA 30274                PO BOX 140990                         TAMPA, FL 33603
                                   NASHVILLE, TN 37201



AAA SEMI TRUCK & TRAILER REPAIR, BROTHERS
                                  LLC.      TRUCKING LLC                 CHECKER CAB COMPANY OF L
34415 S. HAINES CREEK RD         3035 S TORREY PINES DR                  2101 E. MAIN ST.
LEESBURG, FL 34788               LAS VEGAS, NV 89146                     LAKELAND, FL 33801




AAA TRUCKING INC                   BROTHERS TRUCKING SERVICES INC CHEVRON PRODUCTS COMPANY
213 CHANDLER SPRINGS DR            620 PEACH ORCHARD RD           P.O. BOX 730348
HOLLY SPRINGS, NC 27540            SALISBURY, NC 28147            DALLAS, TX 75373-0348




ACCURATE PAPER HOLDINGS, LLC.      CAMS TRANSPORT COMPANY                CINTAS CORPORATION # 074
P.O. BOX 865388                    2985 ELBIB DR                         P.O. BOX 630910
ORLANDO, FL 32886-5388             SAINT CLOUD, FL 34772                 CINCINNATI, OH 45263-0910




AIM TRANSPORTATION SERVICES        CANDELARIO GUZMAN                     COAST 2 COAST TRUCKING, IN
1407 OREGON ST                     DBA OLD PYLON TRUCKING                8808 MATHOG RD
WATERLOO, IA 50702                 5016 N HUISACHE AVE.                  RIVERVIEW, FL 33579
                                   PHARR, TX 78577



ALLIANCE EXPEDITED SERVICES        Carrier Transicold South              COLS TRUCKING
702 WHITE OAK DR                   500 Dainel Payne Drive                3140 BRIGHTON PASS
LEBANON, TN 37087                  Birmingham, AL 35214                  CONYERS, GA 30094




ARTCCA INC                         CARRIER411 SERVCES, INC.              COMPANYCARE LLC
206 FAIRFIELD DR                   1540 INTERNATIONAL PARKWAY            1346 62ND AVE NORTH
SANFORD, FL 32771                  STE 2000                              ST PETERSBURG, FL 33702
                                   LAKE MARY, FL 32746-5096
                 Case 6:19-bk-06312-CCJ   Doc 1    Filed 09/27/19   Page 12 of 17




COR TRUCKING CORP                DAT Solutions                         DORIN MATEIOVICI
6802 TIMBERLANE WES DR           PO Box 783801                         1858 SHAKER FALLS LANE
TAMPA, FL 33615                  Philadelphia, PA 19178-3801           LAWRENCEVILLE, GA 30045




COTTINGHAM & BUTLER, INC.                                     DSI MEDICAL SERVICES, INC.
                                 DELAWARE DEPARTMENT OF TRANSPORTATION
P.O. BOX 449                     P.O. BOX 697                 300 WELSH ROAD, BLDG 4, SUIT16
DUBUQUE, IA 52004-0449           DOVER, DE 19903-0697         HORSHAM, PA 19044




COULTER TRANSPORT LLC            Delaware Dept of Revenue              DSL EXPRESS TRUCKING INC
2739 TINDAL ROAD                 Attn: Ex Director                     11915 STREAMBED DR
SUMTER, SC 29150                 820 N French Street                   RIVERVIEW, FL 33579
                                 Wilmington, DE 19801



                                DELTA EXPRESS INC
CREDIT PROTECTION ASSOCIATION, LP.                                     DUNN DUNN TRUCKING
                                10 WOODBERRY LANE
C/O NORTH TEXAS TOLLWAY AUTHORITY                                      2328 BRAELIN LOOP
PO BOX 207899                   ASHEVILLE, NC 28806                    MCDONOUGH, GA 30253
DALLAS, TX 75320-7899



CROOK TRANSPORT LLC              DIAMOND TRUCK CORP                    E-470 PUBLIC HWY AUTHORITY
2961 NESTLE CREEK DRIVE          18025 NW 84TH AVE                     E-470 PUBLIC HWY AUTHORITY
MARIETTA, GA 30062               HIALEAH, FL 33015                     PO BOX 5470
                                                                       DENVER, CO 80217-5470



CROOMS FLEET SERVICES INC.       DIS EXPRESS INC                       EASTERN METAL SUPPLY, INC.
15158 EVANS RANCH RD             2237 TRADITION DR                     3600 23RD AVENUE SOUTH
LAKELAND, FL 33809               GRAND RAPIDS, MI 49505                LAKE WORTH, FL 33461




                              DISCOVERY
CRUMPTON WELDING SUPPLY & EQUIPMENT  INC. BENEFITS, INC.               ENES EXPRESS LLC
P.O. BOX 75939                P.O. BOX 9528                            5003 EDDYSTONE LN
TAMPA, FL 33675               FARGO, ND 58106-9528                     MONROE, NC 28110




CS TRUCK & TRAILER REPAIR SERVICES                           ERINA TRANSPORTATION LLC
                                DOCUMENT MANAGEMENT INCORPORATED
6575 MARSHALL BLVD. SUITE B     PO BOX 19                    10651 STEPPINGTON DR #3056
LITHONIA, GA 30058              SHERMAN, IL 62684            DALLAS, TX 75230




DAIMLER TRUCK FINANCIAL          DON YATES TRUCKING INC                F2F TRANSPORT, LLC
PO BOX 5261                      225 BARBER JUNCTION RD                1301 RIVERFRONT PARKWAY SU11
CAROL STREAM, IL 60197-5261      CLEVELAND, NC 27013                   CHATTANOOGA, TN 37402
                 Case 6:19-bk-06312-CCJ   Doc 1   Filed 09/27/19   Page 13 of 17




FDOT                             GEORGIA DIRECT TRANSPORTATION        HIGH END FREIGHT SOLUTIONSLL
PO BOX 105477                    1995 NORTH PARK PL STE 310K          113 ALBERTA CIR
ATLANTA, GA 30348-5477           ATLANTA, GA 30339                    PIEDMONT, SC 29673




FEDERAL EXPRESS CORPORATION      GIC LOGISTICS INC                    HIRERIGHT, LLC
P.O. BOX 660481                  1505 DEERWOOD TRL                    PO BOX 847891
DALLAS, TX 75266-0481            WISCONSIN DELLS, WI 53965            DALLAS, TX 75284-7891




FLEET PRODUCTS                   GLOBAL FROZEN TRUCKING INC           HOMER EXPRESS LLC
6510 GOLDEN GROVES LANE          13141 66TH STREET N                  33243 POWER LINE CT
TAMPA, FL 33610                  LARGO, FL 33773                      WARRENTON, MO 63383




FLEETNET AMERICA, INC.           GRACE & MERCY TRUCKING LLC           INDY LOGISTICS INC
P.O. BOX 970                     2609 PRINCE STREET                   11723 WALTON CRES
CHERRYVILLE, NC 28021            GEORGETOWN, SC 29440                 ZIONSVILLE, IN 46077




FLEETWING CORPORATION            GREAT DANE AFTERMARKET PARTS         INFINITY TRUCKING SPECIALISTLL
PO BOX 22                        25768 NETWORK PLACE                  431 E 6TH
LAKELAND, FL 33802               CHICAGO, IL 60673-1257               WAYNESBORO, GA 30830




FLORIDA RELIABLE TRANSPORTAT     GTI TRANSPORT LLC                    INTER-LINK TRANSPORTATION L
11783 SE 140 TER                 10015 LAKE CREEK PKWY APT#427        5608 S BRIAR RIDGE CIR
OCKLAWAHA, FL 32179              AUSTIN, TX 78729                     MCKINNEY, TX 75070




FLORIDA UTILITY TRAILERS INC     GULF COAST BUSINESS CREDIT           Internal Revenue Service
1101 S. ORANGE BLOSSOM TL        7000 WAVERLY ROAD                    Centralized Insolvency Ops
ATTENTION PAT O'BERRY            WAVERLY, FL 33877                    PO Box 7346
APOPKA, FL 32703                                                      Philadelphia, PA 19101-7346



FREIGHT DISPATCH SERVICE INC     GULF COAST THERMO KING               INTERSTATE BATTERY SYSTEMS
8700 WESR FLAGLER ST SUITE 275   7802 U.S. HIGHWAY 301 NORTH          P.O. BOX 2673
MIAMI, FL 33174                  TAMPA, FL 33637                      EATON PARK, FL 33840




FREIGHT LINES INC                GUYTON TRANSPORT INC.                JESSIE JONES AUTO GLASS, IN
6106 KNOLL VALLEY DR APT #101    1850 LANDON LANE                     P.O. BOX 9124
WILLOWBROOK, IL 60527            BRASELTON, GA 30517                  WINTER HAVEN, FL 33883
                Case 6:19-bk-06312-CCJ   Doc 1   Filed 09/27/19   Page 14 of 17




JWP EXPRESS LLC                 LOVES TIRE CARE                      NATHAN RUSSELL AUTO DETAIL
668 COMMUNITY CT                PO BOX 842568                        PO BOX 676
GALLATIN, TN 37066              KANSAS CITY, MO 64184-2568           LAKELAND, FL 33802




K L TRANSPORT LLC               M J INTERSTATE                       NORTH CENTRAL UTILITY
6220 ALDER DR SPT # 3928        MARY UPENDO JOSEPH                   4334 DENTAL ROAD
HOUSTON, TX 77081               3129 MONARCH DR                      DEFORST, WI 53532
                                PLANO, TX 75074



KARAN TRANSPORT INC             MAG CARRIERS LLC                     NORTH COVE TRUCK SERVICE IN
43908 LOGANWOOD CT              184 PRINTUP ST                       12363 U.S. 221 NORTH
ASHBURN, VA 20147               DEARING, GA 30808                    MARION, NC 28752




KENWORTH OF CENTRAL FLORIDA     MAIL PROCESSING ASSOC. INC           OMNITRACS HOLDINGS, LLC.
5004 NORTH COMBEE ROAD          P.O. BOX 3933                        FILE NO. 54210
LAKELAND, FL 33805-7508         LAKELAND, FL 33802-3933              LOS ANGELES, CA 90074-4210




KINOS TRANSPORT LLC             MDX TRUCKING, INC.                   ONE NETWORK ENTERPRISES, IN
1508 HUGHES CT                  1415 HWY 85 N STE 310-425            4055 VALLEY VIEW LN. STE 1000
HIGH POINT, NC 27263            FAYETTEVILLE, GA 30214               DALLAS, TX 75244




KRAM TIRE INTERNATIONAL INC.    MGI EXPRESS LLC                      ORLANDO FREIGHTLINER, INC.
PO BOX 246                      134 WINDING WOOD DR APT 1A           P.O. BOX 547185
CONLEY, GA 30288                SAYREVILLE, NJ 08872                 ORLANDO, FL 32854-7185




LAKELAND ELECTRIC               MICHELIN NORTH AMERICA INC           PARRY'S LAWN & LANDSCAPE, IN
PO BOX 32006                    ONE PARKWAY SOUTH                    2000 E. EDGEWOOD DRIVE SUIT10
                                                                                                B
LAKELAND, FL 33802              PO BOX 19001                         LAKELAND, FL 33803
                                GREENVILLE, SC 29602-9001



LH TRANSPORTATION INC           MIDNIGHT EXPRESS TRANSPORTATIONPAYNE AIR CONDITIONING & HE
                                                                                         IN
8414 MAY ST                     1125 CREST BROOK LN            1048 E. OLEANDER STREET
TAMPA, FL 33614                 ROSWELL, GA 30075              LAKELAND, FL 33801




LINEAGE                         NAAC TRANSPORT LLC                   PBJ EXPRESS INC
110 PLUGS DRIVE                 497 RIGLAW CIR                       2325 EASTLAND
DECATUR, AL 35601               LEXINGTON, SC 29073                  JOPLIN, MO 64801
                  Case 6:19-bk-06312-CCJ   Doc 1   Filed 09/27/19   Page 15 of 17




PEACH STATE FREIGHTLINER LLC      RABBIT INC                           SKYBITZ, INC.
P.O. BOX 808                      2045 S ARLINGTON HEIGHTS #112        DEPT CH 16861
NORCROSS, GA 30091                ARLINGTON HTS, IL 60005              PALATINE, IL 60055-6861




PILOT TRAVEL CENTERS, LLC         RAIN DOGS TRUCKING INC               SOUTHERN CONNECTOR
5508 LONAS RD                     689 EXECUTIVE DR                     PO BOX 408
KNOXVILLE, TN 37909               WILLOWBROOK, IL 60527                PIEDMONT, SC 29673




PREMIER TRUCK GROUP               REAL STARS TRUCKING LLC              SOUTHPORT TRUCK GROUP
137 GATEWAY DR                    2624 Cedar Bluff Ct                  7528 US HWY 301 N
RINGGOLD, GA 30736-7319           Ocoee, FL 34761                      TAMPA, FL 33637




                                LLCTRUCK CENTERS OF FLORIDA, SPECTRUM
                             RUSH
PROFESSIONAL ACCOUNT MANAGEMENT                              INC.       ENTERPRISE
PO BOX 1153                  P.O. BOX 2208                   P.O. BOX 790450
MILWAUKEE, WI 53201-1153     DECATUR, AL 35609-2208          SAINT LOUIS, MO 63179-0450




PURE WATER PARTNERS               SADDLE CREEK TRANSPORTATION          ST TRANSPORTATION LLC
1600 DISTRICT AVE, SUITE 200      P.O. BOX 530625                      7157 SIR GALAHAD WAY
BURLINGTON, MA 01803              ATLANTA, GA 30353-0625               JONESBORO, GA 30236




Q TRANS                           SAFETY-KLEEN SYSTEMS                 STAPLES CONTRACT & COMMEIN
JOHN N QUINTERO                   P.O. BOX 650509                      DEPT ATL
121 CLAIRMONT DR                  DALLAS, TX 75265-0509                P. O. BOX 105638
COWARTS, AL 36321                                                      ATLANTA, GA 30384-5386



QUIZICAL LOGISTICS LLC            Santander Bank                       STATEWIDE BUILDING MAINTENA
5813 MONTINA RD                   Mail code: MA2-6560-CB16             P.O. BOX 90394
KNOXVILLE, TN 37912               28 State Street                      LAKELAND, FL 33804-0394
                                  Boston, MA 02109



R H P T LOGISTICS LLC            SCOTLYNN COMMODITIES INC              STEELHEAD FINANCE
615 ST GEORGE SQUARE CT UNIT 300 15671 SAN CARLOS BLVD                 F/A/O BIM GROUP LLC DBA DYATR
WINSTON SALEM, NC 27103          FORT MYERS, FL 33908                  3518 HEATHROW WAY
                                                                       MEDFORD, OR 97504



R2 TRUCKIN LLC                    SHEWA TRACKING LLC                   STEPP'S TOWING SERVICE
12481 CO RD 41                    336 CRESTHAVEN DR                    9602 EAST HWY 92
ARLEY, AL 35541                   ROCKWALL, TX 75032                   TAMPA, FL 33610
                  Case 6:19-bk-06312-CCJ   Doc 1   Filed 09/27/19   Page 16 of 17




SUN STATE INTERNATIONAL TRUCKS THE GOODYEAR TIRE AND RUBBER            TRAVELING MAN TRANSPORTAT
P.O. BOX 26043                 P O BOX 277808                          2335 SHAMROCK DRIVE
TAMPA, FL 33623-6043           ATLANTA, GA 30384-7808                  DECATUR, GA 30032




                               THE
SUNBELT TRANSPORT REFRIGERATION,   HARTLINE ALARM COMPANY, INC.TRAVELOKO INC
                                 LTD.
P.O. BOX 919016                PO BOX 1257                     1887 MT CONNESS WAY
ORLANDO, FL 32891-9016         LAKE WALES, FL 33859            ANTIOCH, CA 94531




Sunco Carriers Inc                THERMO KING                          TRUCK & TRAILER OF MACON, IN
Attn Janice Seymore               15816 COLLECTIONS CENTER DRIVE       PO BOX 28588
1958 Monroe Drive NE              CHICAGO, IL 60693                    MACON, GA 31221
ATLANTA, GA 30324



SWAM LOGISTICS INC                TMW SYSTEMS, INC.                    TRUCKING BY JJV LLC
11266 SW 230 TERRACE              WELLS FARGO BANK                     1350 NORTH ST
MIAMI, FL 33170                   P.O. BOX 203455                      LONGWOOD, FL 32750-6336
                                  DALLAS, TX 75320-3455



TCW, INC                        TRAILCO OF FLORIDA, INC.               TRULY NOLEN OF AMERICA, IN
                                PO BOX 730
22 STANLEY STREET, ATTN:DAVID MANNING                                  4842 N. FLORIDA AVE., 2ND FLO
NASHVILLE, TN 37210             HASTINGS, FL 32145                     TAMPA, FL 33603-2157




TENSTREET, LLC                    TRAILER LOGIC LLC.                   UNITED TOUR LOGISTICS SERVLL
5121 S. WHEELING, STE.200         4392 HAMILTON DR.                    2538 PICKETT FENCE LN
TULSA, OK 74105                   EAGAN, MN 55123                      SNELLVILLE, GA 30078




TERSON TRUCKING                   TRANSFLO EXPRESS                     Universal Trucking (UTBA)
TERENCE BUCHANAN                  PO BOX 88319                         P.O. BOX 848
1019 JIMMY DR                     MILWAUKEE, WI 53288-0319             TYRONE, GA 30290
GLENCOE, AL 35905



TFC ALWAYS LLC                    TRAVEL CENTERS OF AMERICA LLC        W. W. WILLIAMS
2860 HWY 292                      P.O. BOX 641906                      2849 MORELAND AVENUE S.E.
LYONS, GA 30436                   CINCINNATI, OH 45264-1906            ATLANTA, GA 30315-5723




The Corporation Trust Com         TRAVELERS CL REMITTANCE CENTER WELLS FARGO FINANCIAL LEAS
Registered Agent                  PO BOX 660317                  P.O. BOX 105743
1209 Orange St                    DALLAS, TX 75266-0317          ATLANTA, GA 30348-5743
Wilmington, DE 19801
                Case 6:19-bk-06312-CCJ   Doc 1   Filed 09/27/19   Page 17 of 17




WORKFORCEQA, LLC
1430 SOUTH MAIN STREET
SALT LAKE CITY, UT 84115
